    Case 18-20179           Doc 16     Filed 05/23/18 Entered 05/23/18 11:48:52               Desc ocom9013
                                                    Page 1 of 1
ocom9013 (02/18)

                                     UNITED STATES BANKRUPTCY COURT
                                               District of Maine

                                                             Case No.: 18−20179
                                                             Chapter: 13
In Re: Charles Pappas


                                    ORDER TO COMPLY WITH LBR 9013−1(d)



    Creditor, Donna Parris submitted a motion (Dkt #:14 and 15) which fails to comply with Local Rule 9013−1(d). If
the motion is for relief from stay, because it does not comply with Local Rules the provisions of 11 U.S.C§362(e)
regarding automatic relief from stay shall not apply.

        The Motion seeks action without a hearing.

                   The Motion lacks the required "Relief Requested Without a Hearing" language in the upper right
                   corner of the first page.

                   The Motion lacks the required consent(s) to comply with LR−9013−1(d) and/or 4001−1(g).

                   The Proposed Order lacks the required "This Order shall become final in fourteen (14) days unless a
                   party in interest sooner objects, in which case the matter shall be set for hearing and considered
                   by the court as if this Order had not been entered." language.

             The Movant is instructed to either notice the matter for hearing, or else submit a revised motion
             and /or form of order that comply with the local rules.


                                                           OR



        The Motion must be set for hearing by the Movant. If the motion is not set for hearing, no further action
        will be taken on the motion.


Dated: May 23, 2018
                                                             /s/ Michael A. Fagone
                                                             U.S. Bankruptcy Judge
